
USCA1 Opinion

	




          August 11, 1993       [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-1332                                            JESUS SANCHEZ-VALDES,                                Plaintiff, Appellant,                                          v.                               ALBERTO O. BACO, ET AL.,                                Defendants, Appellees.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                   [Hon. Gilberto Gierbolini, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                Cyr, Boudin and Stahl,                                   Circuit Judges.                                   ______________                                 ___________________               Hector  Rivera  Cruz,  Secretary of  Justice,  Antonio  Fiol               ____________________                           _____________          Matta, Director, Federal Litigation Division, Rosalinda Pesquera,          _____                                         __________________          Victor  E.  Baez,  and  Sigfredo Rodriguez  Isaac,  on  brief for          ________________        _________________________          appellant.               Carlos Lugo Fiol,  Acting Solicitor  General, Department  of               ________________          Justice, on brief for appellees.                                  __________________                                  __________________                 Per Curiam.   The  district court dismissed  this action                 __________            after  determining that  plaintiff had  orally agreed  upon a            settlement.  Plaintiff has appealed.                 Plaintiff's brief does  not clearly explain  plaintiff's            challenge.   If plaintiff's argument is that the terms of the            settlement as  represented by  defendants were not  the terms            the   parties  actually   agreed  upon   at  the   settlement            conference, we conclude  plaintiff has waived that  argument.            Plaintiff neither  timely  opposed defendants'  June 3,  1992            motion (which asked the court, among other things, to enforce            the settlement  agreement  attached to  defendants'  motion),            requested an evidentiary  hearing, nor sought reconsideration            of the court's June  22, 1992 order which concluded  that the            agreed upon settlement  terms were as stated  by defendants.             If plaintiff's argument is that counsel was not authorized to            settle  the  case, this  argument,  too, has  been  waived by            plaintiff's  failure  to  present  it  below.    In  view  of            plaintiff's silence below,  coupled with his  vaguely phrased            appellate brief, we see no basis  for disturbing the district            court's judgment.                 Affirmed.                  ________                                         -2-

